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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


Civil Action No. 18-cv-01710-KMT

ROGER HILL,

        Plaintiff,

v.

MARK EVERETT WARSEWA,
LINDA JOSEPH, and
THE STATE OF COLORADO,

        Defendants.


                                     FINAL JUDGMENT


        PURSUANT to and in accordance with Fed. R. Civ. P. 58(a) and the Order entered by the

Honorable Kathleen M. Tafoya on January 8, 2019, and incorporated herein by reference as if

fully set forth, it is

        ORDERED that the Motion to Dismiss (Doc. No. 21) and the Motion to Dismiss the First

Amended Complaint (Doc. No. 27) are GRANTED.           It is

        FURTHER ORDERED that final judgment is hereby entered in favor of Defendants,

Mark Everett Warsewa, Linda Joseph, and the State of Colorado and against Plaintiff, Roger

Hill.   It is

        FURTHERED ORDERED that the defendants are awarded their costs to be taxed by the

Clerk of the Court in the time and manner prescribed by Fed. R. Civ. P. 54(d)(1) and

D.C.COLO.LCivR 54.1. It is

        FURTHER ORDERED that plaintiff’s Complaint and this civil action are DISMISSED
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pursuant to Fed. R. Civ. P. 12(b)(6).




DATED at Colorado Springs, Colorado this 10th day of January 2019.

                                                 FOR THE COURT:

                                                 JEFFREY P. COLWELL, CLERK


                                                 s/ K. Senamontry
                                                 Deputy Clerk
